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                                        No. 23 - 1826

United States Court of Appeals for the Third Circuit
                                     ________________

                IN RE OFFICIAL COMMITTEE OF TALC CLAIMANTS,

                                                     Petitioner.
                                     ________________

      On Petition for Writ of Mandamus to the United States Bankruptcy Court
 for the District of New Jersey, Chapter 11 No. 23-12825, Adv. Pro. No. 23-01092
                                 ________________

    OPPOSITION OF THE AD HOC COMMITTEE OF SUPPORTING
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May 8, 2023


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                      CORPORATE DISCLOSURE STATEMENT

         The Ad Hoc Committee of Supporting Counsel (the “AHC of Supporting

Counsel”) is not a nongovernmental corporation as that term is used in Federal Rule

of Appellate Procedure 26.1. The AHC of Supporting Counsel also is not the debtor

or trustee of the underlying bankruptcy estate or the appellant in this matter.




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                                 INTRODUCTION

         The Official Committee for Talc Claimants (the “TCC”) has taken the drastic

step of seeking the most extraordinary relief available from this Court—a writ of

mandamus—before the Bankruptcy Court for the District of New Jersey (the

“Bankruptcy Court”) has even had an opportunity to weigh in on the ultimate issues

raised by the TCC’s petition (the “Petition”).

         According to the TCC, the primary issue here presented is whether Debtor

LTL Management, LLC’s “second bankruptcy petition impermissibly attempts to

circumvent” this Court’s decision in In re LTL Mgmt., LLC (“LTL 1.0”), 64 F.4th

84, 110 (3d Cir. 2023). That very question is now before the Bankruptcy Court,

raised by the TCC itself in connection with a recently filed motion to dismiss the

underlying bankruptcy case (together with other such motions now pending, the

“Motions to Dismiss”). And while at the same time convening with the Bankruptcy

Court and all parties of record regarding a schedule for the disclosure of fact and

expert discovery necessary for the adjudication of such matters, the TCC now

demands that this Court answer the same questions on the basis of an unripe and

incomplete factual record.

         Furthermore, in addition to attempting to force a decision on the critical

question of financial distress before fact and expert discovery regarding the Debtor’s

change in circumstances is complete, the TCC also seeks through this Petition to


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silence an important countervailing voice in this proceeding overall. As counsel to

the majority of affected talc claimants, the AHC of Supporting Counsel negotiated

a plan framework with the Debtor and others, which would require them to pursue

implementation of a plan based on their mutual agreement.1 Through its Petition,

however, the TCC seeks to silence this support by taking the Chapter 11 Case from

the Bankruptcy Court, and thereby deprive all such claimants of the ability to

consider the Debtor’s proposal in the ordinary course.

         In all, the TCC seeks to close the courthouse door to the Debtor and supporting

claimants for all time by turning this Court’s decision in LTL 1.0 into a complete bar

on the Debtor’s access to relief under chapter 11 of the Bankruptcy Code, which is

plainly inconsistent with the Court’s prior holding. For these reasons, the Petition

must be denied and the TCC must be forced to abide by basic procedure and allow

for the bankruptcy process in the underlying case to proceed in its normal course.




1
  The Petition before the Court was taken from the Debtor’s proceeding under
chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”). Federal Rule of
Appellate Procedure 21 provides that “[a]ll parties to the proceeding in the trial court
other than the petition are respondents for all purposes.” Fed. R. App. 21(a)(1). This
Court has defined “proceeding” in Rule 21 to encompass “those matters of an
administrative character, including questions between the bankrupt and his creditors,
which are presented in the ordinary course of the administration of the bankrupt's
estate.” Citibank, N. A. v. Fullam, 580 F.2d 82, 89 (3d Cir. 1978). The AHC of
Supporting Counsel is a party to the Chapter 11 Case, and thus the “proceeding,”
and so is a respondent in this appeal. See Initial Statement of Ad Hoc Committee of
Supporting Talc Claimants (Bankr. ECF No. 253).
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                                   BACKGROUND

         At bottom, few facts are relevant to the Petition. This Court entered its

opinion in LTL 1.0 on March 31, 2023 instructing the Bankrupt Court to dismiss the

Debtor’s prior case under chapter 11 of the Bankruptcy Code. After the Bankruptcy

Court complied with this Court’s mandate, the Debtor initiated this Chapter 11 Case

on April 4, 2023 in order to fully and permanently resolve all current and future talc-

related claims against the Debtor and its corporate affiliate, Johnson & Johnson. See

Declaration of John K. Kim in Support of First Day Pleadings ¶ 77 (the “Kim

Declaration”) (Bankr. ECF No. 4; A624).

         The Debtor’s new Chapter 11 Case is different from its first filing in a number

of critical respects. First, the amount of the proposed settlement fund is significantly

different from the proposed fund in the first proceeding. (A626). Second, and

relatedly, the relevant constituents in this Chapter 11 Case differ materially in

alignment from the first case in that the proposed plan of settlement enjoys broad

support from a large constituency, including those that sat on a committee that

actively opposed the first case.       Namely, the AHC of Supporting Counsel is

comprised of counsel for tens of thousands of talc claimants in the Chapter 11 Case.

(A626). Third, the Debtor’s financial circumstances changed following the LTL 1.0

decision. (A651-652).




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         In light of these differences, the Bankruptcy Court has, among other things,

entered a entered a preliminary injunction that enjoined the commencement or

continuation of trials against Johnson & Johnson, the Debtor, and all other parties

listed on Appendix B to the Adversary Complaint (with the exception of two entities)

for sixty days, but otherwise permitted discovery or the commencement of new talc

cases.       See Order Dissolving Temporary Restraining Order, Extending the

Automatic Stay, and Granting Limited Preliminary Restraints (the “Preliminary

Injunction”) (Bankr. Adv. ECF No. 91; A32). The TCC appealed the Court’s

preliminary injunction ruling on April 21, 2023. Notice of Appeal and Statement of

Election (the “PI Appeal”) (Bankr. Adv. ECF No. 83; A2731). The TCC also

requested certification of its appeal directly to this Court. Notice of Request of

Official Committee of Talc Claimants for Order Certifying Direct Appeal of

Preliminary Injunction Order of April 20, 2023 to the United States Court of Appeals

for the Third Circuit (Bankr. Adv. ECF No. 84; A2740). The Bankruptcy Court has

scheduled a hearing on May 9, 2023 to hear the pending motions to certify the PI

Appeal directly to this Court. (Bankr. Adv. ECF No. 87).

         The TCC separately filed its Motion to Dismiss on April 24, 2013, with

numerous other parties thereafter seeking the same relief. The Bankruptcy Court

has scheduled an evidentiary hearing on the Motions to Dismiss to commence either

June 12, 2023 or June 20, 2023, and, as of the date this Response was submitted, the


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parties continued to actively negotiate a schedule by which fact and expert discovery

regarding these issues would be completed in advance of trial.

                             MANDAMUS STANDARD

         “Writ of mandamus is an extraordinary form of relief, and Courts of Appeals

must be chary in exercising that power, in that mandamus must not be used as mere

substitute of appeal.” See In re Kensington Inter. Ltd., 353 F.3d 211 (3d Cir. 2003).

Mandamus relief “is typically appropriate ‘only upon a showing of (1) a clear abuse

of discretion or clear error of law; (2) a lack of an alternate avenue for adequate

relief; and (3) a likelihood of irreparable injury.’” In re McGraw-Hill Glob. Educ.

Holdings LLC, 909 F.3d 48, 56 (3d Cir. 2018) (quoting United States v. Wright, 776

F.3d 134, 146 (3d Cir. 2015)).

         The burden to demonstrate an entitlement to mandamus relief lies squarely

with the petitioner and requires a showing that “its right to the writ is clear and

indisputable.” Id. (quoting Sunbelt Corp. v. Noble, Denton & Assocs., Inc., 5 F.3d

28, 30 (3d Cir. 1993)). “Only exceptional circumstances, amounting to a judicial

usurpation of power, will justify the invocation of this extraordinary remedy.”

Commc’n Workers of Am., AFL-CIO v. Am. Tel. & Tel. Co., 932 F.2d 199, 208 (3d

Cir. 1991) (citing Allied Chemical Corp. v. Daiflon, Inc., 449 U.S. 33, 35 (1980) (per

curiam)).




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                                    ARGUMENT

I.       The TCC Improperly Uses Mandamus to Preempt Adjudication on the
         Merits of the Debtors’ Chapter 11 Case and as a Substitute for Appeal

         The TCC does not attempt to analyze the applicable factors for obtaining

mandamus relief from this Court. This is not a mistake; the TCC cannot satisfy

them. That is because the TCC is not actually aggrieved by any action or inaction

of the Bankruptcy Court that “amounts to a judicial usurpation of power.” Rather,

the TCC seeks simply to have this Court effectively rule on the TCC’s Motion to

Dismiss prior to discovery regarding such matters may be taken and completed

before the Bankruptcy Court. The Court should not entertain these tactics, and

should instead deny the Petition to allow for full adjudication by the Bankruptcy

Court in the normal course of this fast-moving Chapter 11 Case.

         A.       There Has Been No Error Warranting Mandamus Relief

         The exercise of mandamus “require[s] more than showing that the court

misinterpreted the law, misapplied it to the facts, or otherwise engaged in an abuse

of discretion.” McGraw-Hill, 909 F.3d at 56–57 (quoting In re Lloyd's Register N.

Am., Inc., 780 F.3d 283, 290 (5th Cir. 2015)). Indeed, mandamus requires at least a

showing that the Bankruptcy Court “committed a clear error of law that ‘at least

approach[es] the magnitude of an unauthorized exercise of judicial power, or a

failure to use that power when there is a duty to do so.’” Commc’n Workers, 932

F.2d at 208 (quoting Lusardi v. Lechner, 855 F.2d 1062, 1069 (3d Cir. 1988)).


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         Here, the Bankruptcy Court has not even been given an opportunity to

consider the TCC’s pending Motion to Dismiss—the proper forum for adjudicating

the issues presented in the Petition—which is likely to be tried to a close by the

middle of June. Instead, in a brazen waste of judicial resources, the TCC sought

mandamus relief before it even filed for such relief, and now demands a final

appellate ruling on these issues before the parties have even begun the process of

disclosing fact and expert discovery relevant to the motion itself. As a result, there

is no record on which to analyze the many factual questions at issue in the pending

Motions to Dismiss, which, in light of the Debtor’s own change of circumstances

following this Court’s decision in LTL 1.0, should alone compel denial of the relief

here sought.

         In reality, the TCC attempts through its Petition to turn this Court’s prior

decision into a categorical bar on the Debtor’s ability to seek relief under chapter 11

of the Bankruptcy Code, which is plainly inconsistent with the effective scope of

LTL 1.0. Indeed, in that decision, the Court stated that it “need not lay down a rule

that no nontraditional debtor could ever satisfy the Code’s good-faith requirement,”

LTL 1.0, 64 F.4th at 111, and added further that, with respect to the Debtor’s

circumstance in the prior case, the Court could not “currently see how its lack of

financial distress could be overcome.” Id. at 110.




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         Now, however, out of apparent concern that the Debtor’s change in

circumstance will, in fact, meet the standards set out in LTL 1.0, the TCC attempts

to take the Chapter 11 Case away from the Bankruptcy Court before the parties have

even had an opportunity to agree on a schedule for fact and expert disclosure

regarding precisely the same issues. In fact, as of the date this Response was

submitted, the parties were still in the process of actively negotiating a schedule by

which discovery would, at the very latest, be complete by the first week in June.

         In this regard, the Petition simply demonstrates a lack of respect for the

judicial process. While the Bankruptcy Court continues to work diligently to resolve

the issues raised in the pending Motions to Dismiss and otherwise adjudicate the

Chapter 11 Case, the TCC, by contrast, has sought only to obstruct that process

through tactics such as these. As such, the Petition respectfully should be denied.

         B.       The TCC Has an Adequate Avenue to Relief Before the
                  Bankruptcy Court

         The Petition separately should be denied because “[a] writ will only issue

when the party seeking the writ has no other adequate means of obtaining the relief

sought.” Sunbelt, 5 F.3d at 30. Here, the TCC will not be without remedy if

mandamus relief is denied, and the TCC does not assert otherwise. Rather, the TCC

argues that its ability to take an appeal in the ordinary course somehow does not

preclude mandamus relief here.



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         The only case on which the TCC relies, Citibank, N. A. v. Fullam, does not

support this proposition. 580 F.2d 82 (3d Cir. 1978). In Citibank, this Court held

mandamus was appropriate because Citibank could not have appealed from the order

of the court below, and thus the issue risked escaping appellate review. Id. at 88–

89. The Citibank court held, alternatively, that even if the district court’s order was

subject to an ordinary-course appeal, the mandamus request did not implicate

concerns about piecemeal litigation or prejudice the respondents because “[the]

petition for a writ of mandamus was filed within the applicable period for filing a

notice of appeal.” Id. at 89. Neither circumstance applies here. First, and as the

TCC does not contest, any decision on the Motions to Dismiss by the Bankruptcy

Court will be appealable in the ordinary course. Second, because there has been no

decision issued by the Bankruptcy Court on the Motions to Dismiss, the proper

forum in which to address the issues raised in the Petition, the issues the TCC

attempts to put before this Court are not ripe for review.2




2
  To the extent the TCC contends that the oral request by its ad hoc predecessor
entity at the first day hearing for the Bankruptcy Court to sua sponte dismiss the
Chapter 11 Case is amenable to mandamus appeal, that position is also baseless. The
Bankruptcy Court rightly observed that such a request “flies in the face of Rule 2002,
the Code, Section 1112, and, quite candidly, and it’s been referenced, that there’s
not a record today that would support appellate review of a sua sponte dismissal that
wasn’t noticed, for which there were no pleadings filed, and no evidence taken.”
Apr. 11, 2023 Hr’g Tr. at 124:1–5 (A533).
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         Thus, consistent with Citibank, the Petition here should be denied because the

TCC maintains the unquestionable right to appeal a decision of the Bankruptcy Court

on the Motion to Dismiss, which in all likelihood will be tried within the next six

weeks, and which, unlike this Petition, will be made on the basis of a complete and

updated factual record. See Commc’n Workers, 932 F.2d at 210 (denial of writ

“do[es] no more than require [the petitioning party] to litigate” in the court below,

at which point “after a final determination . . . [it] can pursue an appeal.”)

         C.       The TCC Does Not Face a Risk of Irreparable Harm Warranting
                  Mandamus

         Finally, the TCC fails to address the third prong of showing entitlement to

mandamus relief—that it faces a risk of irreparable harm. While at the same time

complaining of the risks of a weeks-long delay in deciding its Motion to Dismiss,

the TCC advocates on the substance for a process that would result in decades of

litigation and inequitable treatment for its own constituents. By contrast, the AHC

of Supporting Counsel, representing the majority of claimants in this proceeding,

supports the relief proposed in the Chapter 11 Case precisely because it would be

both swift and equitable.

         In any event, the timelines in 11 U.S.C. § 1112(b)(3) ensure that there is

minimal prejudice to the TCC or any other party that opposes the Chapter 11 Case.

Indeed, the Bankruptcy Court is respecting the timelines in Section 1112(b)(3), with

minimal adjustment permitted by statute, such that any adverse decision on the

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Motions to Dismiss will be appealable in short order and with no prejudice to the

TCC. The TCC cannot, on this record, establish any prejudice by allowing the

statutory process for hearing and deciding the Motions to Dismiss to run its course.

II.      The TCC Improperly Circumvents Normal Appellate Process with Its
         Underdeveloped Challenge to the Preliminary Injunction

         Almost as an afterthought, the TCC also asks that this Court dissolve the

Preliminary Injunction as a matter of mandamus relief. But the TCC has already

taken an appeal of the Bankruptcy Court’s Preliminary Injunction and sought to

certify that appeal directly to this Court. A fortiori, an adequate means to obtain

relief from the Preliminary Injunction exists for the TCC because it has already

initiated that process. In re Rad, 714 F. App’x 197 (3d Cir. 2018) (denying

mandamus petition that sought relief that was already subject to regular appeal).

“For that reason alone, the instant mandamus petition is inappropriate and [should]

be denied.” Id.




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                                       CONCLUSION

         For the foregoing reasons, the petition for mandamus should be denied.



 DATED: May 8, 2023                            Respectfully submitted,

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                      CERTIFICATION OF BAR MEMBERSHIP

         Pursuant to the 3d. Cir. L.A.R. 46.1(e), I hereby certify that I am a member of

the bar of this Court.

 DATED: May 8, 2023                             Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

         This brief complies with the type-volume limitation of Fed. R. App.

P. 27(d)(2) because this brief contains 3,185 words.

         This brief complies with the typeface requirements of Fed. R. App.

P. 27(d)(1)(E) and Fed. R. App. P. 32(a)(5) and the type-style requirements of Fed.

R. App. P. 27(d)(1)(E) and Fed. R. App. P. 32(a)(6) because this brief has been

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Roman 14-point font.

         This brief complies with the electronic filing requirements of Third Circuit

Local Rule 31.1(c) because the text of the electronic brief is identical to the text in

the paper copies, and a virus detection program has been run on this file and no virus

was detected. The virus detection program utilized was CrowdStrike (version

6.49.16303.0) and Windows Defender (version 4.18.2210.6).



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                      CERTIFICATE OF FILING AND SERVICE

         I certify that today, May 8, 2023, I caused a true and correct copy of the

foregoing to be served upon the parties listed on the Bankruptcy Court service list in

Chapter 11 Case No. 23-12825 and Adversary Proceeding No. 23-01092.

         I certify that today, May 8, 2023, I electronically filed the foregoing response

brief with the Clerk of the Court for the U.S. Court of Appeals for the Third Circuit

using the appellate CM/ECF system. Participants in the case who are registered

CM/ECF users will be served by the appellate CM/ECF system.


 DATED: May 8, 2023                           Respectfully submitted,

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